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           EXHIBIT 1
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                                  Sincerely,

                                  Matthew M. Graves
                                  United States Attorney

                               By: /s/ Emily Allen____________________
                                   Emily W. Allen
                                   Assistant United States Attorney
                                   907-271-4054
                                   Emily.Allen@usdoj.gov
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        AO 89 (Rev. 08/09; DC 4/10) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

        Case No. 21-CR-00087 (TJK)

                                                              PROOF OF SERVICE

                This subpoena for (name of individual and title, if any) Capital One, N.A.
        was received by me on (date) ____________________.


                         I served the subpoena by delivering a copy to the named person as follows:

                                               on (date)                                               ; or,

                         I returned the subpoena unexecuted because:


                  .

                Unless the subpoena was issued on behalf of the United States, or one of its officers or
        agents, I have also tendered to the witness fees for one day’s attendance, and the mileage allowed
        by law, in the amount of $________________.

        My fees are $__________ for travel and $__________ for services, for a total of $______________.

                  I declare under penalty of perjury that this information is true.



        Date: ______________                                                        ______________________________________
                                                                                                            Server’s signature


                                                                                    ___________________________________
                                                                                                            Printed name and title


                                                                                   _______________________________________________
                                                                                                   Server’s address



        Additional information regarding attempted service, etc.:




                                                        SUBPOENA #TR20230307100034
07/14
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                                           Attachment
                                         Capital One, N.A.
                                Trial Subpoena #TR20230307100034


Michael Nelson Sparks
Date of Birth
Social Security Number

Account number:

Time Period: Nov 1, 2020 – Jan 31, 2021

For any account held by the named customer or account number listed above, please provide the
following:

       1. Credit Cards: Records pertaining to all open or closed credit card accounts in the name of
          (including joint accounts) or under signature authority of any of the above individuals or
          accounts, including:
       2. Deposit Accounts: Records pertaining to all open or closed deposit accounts, including
          checking, savings, or other deposit or checking accounts in the name of (including joint
          accounts) or under signature authority of the above individuals or accounts, including:
              a. Account statements;
              b. Transaction records of all activity on the account, including all available vendor
                  information and data regarding purchases, sales, or deposits.




                                       Please return records to:
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                          DECLARATION OF CUSTODIAN OF RECORDS


         Pursuant to 28 U.S.C. §1746, I, the undersigned, hereby declare:
My name is                                                                            .
                                     (name of declarant)

         I am a United States citizen and I am over eighteen years of age. I am the custodian of records of the
business named below, or I am otherwise qualified as a result of my position with the business named below to
make this declaration. I have knowledge of the record keeping system used by this business; this includes how
records are created and maintained.

        I am in receipt of a United States District Court Subpoena #TR20230307100034 dated
 March 7, 2023, signed by Assistant United States Attorney Emily W. Allen, requesting specified records of the
business named below.

         Attached hereto are                pages of records regarding
                                                                                  (Brief description of type of documents being subpoenaed)
                                                                             responsive to the subpoena. I
understand how these responsive documents were created. Pursuant to Rules 902(11) and 803(6) of the Federal
Rules of Evidence, I hereby certify that the records attached hereto:

         (1) were made at or near the time of the occurrence of the matters set forth in the records, by, or from
         information transmitted by, a person with knowledge of those matters;

         (2) were kept in the course of regularly conducted business activity, in that the records were created and
         preserved pursuant to established procedures, and were relied upon by an employee or this business; and

         (3) were made as part of the regularly conducted business activity as a regular practice, in that the records
         were created and preserved as part of routine reflections of the normal operations of this business.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on
                                            (date)


                                                           (signature of declarant)


                                                           (name and title of declarant)


                                                           (name of business)


                                                           (business address)


                                                           (business address)


Definitions of terms used above:

As defined in Fed.R.Evid. 803(6), “record” includes a memorandum, report, record, or data compilation, in any form, of acts, events,
conditions, opinions, or diagnoses. The term “business” as used in Fed.R.Evid. 803(6) and the above declaration includes business,
institution, association, profession, occupation, and calling of every kind, whether or not conducted for profit.
